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                                              Law Office of Gary G. Norris
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Gary G. Norris *                                                                                   Telephone: (503) 472-3770
                                                                                                   Facsimile: (503) 472-2349
* also licensed in Washington




                                    **Sent regular mail and certified mail, return receipt requested**


           December 22, 2014


          Corporation Service Company
          Attn: Registered Agent
          285 Liberty Street NE
          Salem, OR 97301


           Re:        Julie Wellbrock individually, and as conservator for the Estate of Luke Wellbrock, her
                      minor son v. American Family Mutual Insurance Company
                      Multnomah County Case No.: 14CV20039


           To Whom It May Concern:

           Enclosed is a Summons and a copy of Suit for Declaratory Judgment Pursuant to ORS 28.010 et.
           seq. This is intended to effect service pursuant to ORCP 7.




                                I




                                                              NOTICE OF REMOVAL, EXHIBIT A, Page 0001 of 0070
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                                            1N THE CIRCUIT COURT FOR THE STATE OF OREGON

               2                                              FOR THE COUNTY OF MULTNOMAH

               3    JULIE WELLBROCK individually, and as ) Case No.: 14CV20039
                    conservator for the Estate of Luke Wellbrock, ~
               4    her minor son,                                  SUMMONS
                                                                  )
               5
                                           Plaintiffs,                                     )
                                                                                           )
               6                                                                           )
                               V.                                                          )
               7
                                                                                           )
                    AMERICAN FAMILY MUTUAL                                                 )
                8
                    INSURANCE COMPANY                                                      )
                9             Defendant.                                                   )
                                                                                            )
                    TO: Corporation Service Company, Registered Agent, 285 Liberty Street NE, Salem, Oregon 97301.
               10

               11                You are hereby required to appear and defend the complaint filed against you in the above entitled action within thirty (30) days
                    trom the date of service of this summons upon you, and in case of your failure to do so, for want thereof, plaintiffs will apply to the court for
               12   the relief demanded in the complaint.

               13     NOTICE TO THE DEFENDANTr READ THESE PAPERS CAREFULL Y!


               14     You must "appear" in this case or the other side will win
                    automatically. To "appear" you must file with the court a
                    legal paper called a"motion" or "answer". The "motion" or
                                                                                                                  ~
               15   "answer" must be given to the court clerk or administrator                                 GARIf G. NORRIS, OSB#823552
     N              within 30 days along with the required filing fee. It must                                 ATTORNEY FOR PLAINTIFF
     ~         16   be in proper form and have proof of service on the plain-
      c
                    tiffs' attomey or, if the plaintiffs do not have an
      0             attomey, proof of service upon the plaintiffs.
     d
     Y
       17            If you have any questions, you should see an attomey
     O              immediately. If you need help in finding an attorney, you
  rA °' F 18        may call the Oregon State Bar's Lawyer Referral Service at
w ... ~ M           (503) 684-3763 or toll-free in Oregon at (800) 452-7636.
           N
W o-S 4 19          STATE OF OREGON                   )
uz                                                    ) SS.

w (~ •~ ;;" 20
O
                    County oj Yamhill                 )

                             1, the undersigned attomey of record for the plaintiffs, certify that the foregoing is b exactomplete copy of the original
  u
  m    c. 21        summons in the above entitled action.                                                  1 ~/         it _ A_
     ~ F
     ~
     V
         22
      r.
     cn
     z 23                                                                                                      ATT01tNEY FC1R PLAINTIFF

     ~ 24           TO THE OFFICER OR OTHER PERSON SERVINC THIS SUMMONS: You are her'eby directed to serve a true copy of this summons,
                    together with a true copy of the complaint mentioned therein, upon the individual(s) or other legai entity(ies) to whom or which this summons
                    is directed, and to make your proof of service on the reverse hereof or upon a separate similar document which you shall attach hereto.
               25
               26

               27
                                                                                                              1~  Y_G. NORRIS, OSB#823552
                                                                                                               ATTORNEY FOR PLAINTIFF




                                                                           NOTICE OF REMOVAL, EXHIBIT A, Page 0002 of 0070
                          1 - S UNIlq0NS
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             1                      1N THE CIRCUIT COURT FOR THE STATE OF OREGON
             2
                                                  FOR THE COUNTY OF MULTNOMAH
             3
                    JULIE WELLBROCK individually, and as ) Case No.:
             4      conservator for the Estate of Luke Wellbrock, )
                    her minor son,                                ) SUIT FOR DECLARATORY JUDGMENT
             5                                                    ) PURSUANT TO ORS 28.010 et, seq.
                                    Plaintiffs,
             6

             7              V.

             8      AMERICAN FAMILY MUTUAL
                    INSURANCE COMPANY
              9
                              Defendant.
             10

             11

             12
                            Plaintiffs, Julie Wellbrock, conservator for Luke Wellbrock, and Julie Wellbrock,
             13
                    individually, allege as follows:
             14

             15 I
                                                                    l.
       ~o
       N
       ~  16                Plaintiffs have standing to bring this suit. State Farm Fire and Casualty v. Reuter 294
       c
       0
       d 17         Or 446, 657 P2d 1231 (1983).
       0
             18
w "' >M                                                             2.
       r N
             19
Uz     ~o                   At all material times Defendant was and is a Property-Casualty insurance company,
o            20
                    duly authorized to do business and doing business in the State of Oregon as a provider of
,.Qj         21
       ~F           automobile insurance.
       ~  22
       VM
       fr1
       Z 23                                                         3.
       ~ 24

             25

             26     Page l of 3    SUIT FOR DECLARATORY JUDGMENT PURSUANT TO ORS
                                   28.010 et. seq.
             27




                                                         NOTICE OF REMOVAL, EXHIBIT A, Page 0003 of 0070
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              1              At all material times Defenda.nt had in force and effect a policy of automobile
              2
                     insurance for its named insured, Stirling Wine Grapes Incorporated. A copy of the policy is
              3
                     attached as Exhibit 1.
              4
                                                                     0
              5

              6
                             On or about March 6, 2014, James Frederick Sherman Jr. was operating an F-150

              7      pickup trick in Carlton, Oregon. The pickup was a listed vehicle under the subject policy, for

              8      which specific premium had been paid. Mr. Sherman was a permissive user of the vehicle.
               9
                                                                     5.
              10
                             On March 6, 2014 Mr. Sherman hit Luke Wellbrock a.nd Julie Wellbrock while they
              11
                     were lawfully in a marked crosswalk on E. Main Street in downtown Carlton, seriously
              12

              13     injuring both of them, and killing their family dog instantly.

              14                                                     ~:'I

              15
         ~                   As a result of their injuries, Julie Wellbrock, as conservator for Luke Wellbrock, and
         N
         ~    16
         ~
         0
                     on her own behalf individually, filed an action for bodily injuries in Yamhill County Circuit
         d
         Y
           17
         0
                     Court entitled Julie Wellbrock individually, and as conservator for the Estate of Luke
  rA=F 18
~•.">"'
    ~y

    i~ ~ N           Wellbrock, her minor son v. James Frederick Sherman, Jr., and American Family Mutual
    o2        19
w
    z
      ~ 20
o C~. ;;             Insurance Company case nurnber 14CV 14840. A copy of Ptaintiff's Amended Complaint is
.
Qa ~~ =- n 21        attached as Exhibit 2.
         ;d
         ~F
         ~ 22
         .~
         en                                                          7,
         z 23
                             The subject policy provides coverage for the bodily injuries, and economic and non-
         § 24

              ~~y
                     economic damages sustained by Plaintiffs. However, notwithstanding that, and despite having

              ~Z•~   Page 2 of 3    SUIT FOR DECLARATORY JUDGMENT PURSUANT TO ORS
                                    28.010 et. seq.
              27




                                                          NOTICE OF REMOVAL, EXHIBIT A, Page 0004 of 0070
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1    been put on notice of this claim approximately six months ago, American Family has failed
2
     and refused to acknowledge that coverage exists for Plaintiffs injuries and this accident.
3
     Because of the company's refusal to so acknowledge coverage, a justiciable controversy exits
4
     between Plaintiffs and Defendant, and this court is empowered pursuant to ORS 28.010 et.seq.
5

6
     to determine the rights and obligations of Plaintiffs and Defendant, under the subject policy.

7            WHEREFORE, Plaintiffs pray for relief as follows:

8                   1. For a judgment declaring that at the time the accident occurred, James F.
9
                        Sherman Jr, was a permissive user of the subject truck.
10
                    2. For a judgment declaring that the subject policy provides coverage for
11
                        Plaintiffs' damages up to the applicable limits.
12

13                  3, For Plaintiffs' costs and disbursements incurred herein.

14

15
     DATED this           day of December, 2014.

                                                   Law Office of Gary G. Norris




25

26   Page 3 of 3    SUIT FOR DECLARATORY JUDGMENT PURSUANT TO ORS
                    28.010 et. seq.
27




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